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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION

                                    CASE NO. 13-24216-CIV-Lenard/Goodman

  LEEANN HOLDERBAUM,

            Plaintiff,
  vs.

  CARNIVAL CORPORATION,
  a Panama corporation, d/b/a
  “CARNIVAL CRUISE LINES”,

        Defendant.
  ____________________________________/

   DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION TO DEEM
                HER EXPERT DISCLOSURE TO BE AMENDED

            Defendant, Carnival Corporation (“Carnival”), by and through undersigned counsel

  hereby files its Response to Plaintiff’s Motion to Deem her Expert Disclosure to be Amended

  [D.E. 73] and moves this Honorable Court for entry of an Order denying Plaintiff’s Motion, and

  in support thereof states:

                                                    INTRODUCTION

            This is a maritime personal injury action in which the Plaintiff, LEEANN

  HOLDERBAUM (“Plaintiff”), seeks to recover for physical injuries allegedly sustained as a

  result of a trip and fall on the stairs onboard Carnival’s vessel, the Carnival Paradise on August

  29, 2013. [D.E. 37]. Plaintiff now seeks permission to use Carnival’s liability expert Bryan

  Emond’s (“Emond”) opinions in her case-in-chief at trial. Carnival opposes the relief sought for

  two reasons. First, Plaintiff’s designation of Bryan Emond as her own expert is untimely under

  the Federal Rules of Civil Procedure. Second, Plaintiff’s attempt to use Carnival’s expert in her

  own case-in-chief would be confusing to the jury, duplicative, and cause unfair prejudice to




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  Carnival. The cases relied upon by Plaintiff are inapposite to the circumstance before the Court

  and Plaintiff’s Motion should be denied.

                                          MEMORANDUM OF LAW
    I.   Plaintiff’s motion is untimely and precluded by the Federal Rules of Civil Procedure

         As stated in Chapman v. P&G Distrib., LLC, 766 F.3d 1296 (11th Cir. 2014), “[e]xpert

  witnesses, who are expected to testify at trial, must be identified in the Joint Pretrial Stipulation

  and must meet the procedural requirements of Federal Rule of Civil Procedure 26(a)(2),

  including time designations for supplying disclosures and reports, regarding expert testimony to

  be given.” Id. at 1315. Chapman affirmed the District Court ruling that barred the plaintiff from

  using the defendant’s experts at trial for being procedurally untimely. Id. In doing so, the

  Eleventh Circuit relied on Rule 26(a)(2)(D), which states in part that a party “must” disclose

  expert testimony at least 90 days before the date set for trial. See Fed. R. Civ. P. 26(a)(2)(D)(i).

  Given the broad discretion that a District Court possesses to exclude untimely disclosed expert-

  witness testimony, the Eleventh Circuit found such a procedural bar appropriate. Id, citing Pride

  v. BIC Corp., 218 F.3d 566, 578 (6th Cir. 2000).

      Here, pursuant to this Honorable Court’s trial order [D.E. 17] any and all expert testimony to

  be relied upon by the Plaintiff at trial should have been disclosed on or before September 22,

  2014. Plaintiff’s motion was untimely filed on December 10, 2014. Accordingly, the motion

  should be denied.

      II. Plaintiff’s attempt to use Carnival’s expert in Plaintiff’s case-in-chief would be
             confusing to the jury, duplicative, and cause unfair prejudice to Carnival

         In addition to her motion’s untimeliness, Plaintiff should not be permitted to use

  Carnival’s expert testimony in her case-in-chief because it would cause what some courts

  describe as an “explosive” prejudicial effect. Plaintiff retained her own liability expert and
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  permitting Plaintiff to use Carnival’s expert would be duplicative and undoubtedly confuse the

  jury. Furthermore, the cases cited by the Plaintiff are inapposite to the present matter and for

  these reasons Plaintiff’s motion should be denied.

         As an initial matter, certain expert testimony Plaintiff seeks to use from Emond’s

  deposition and introduce in her case-in-chief should not be admitted in either party’s case.

  Plaintiff, either through her own expert Frank Fore1 or Carnival’s expert, intends to introduce

  testimony that the international Safety of Life at Sea (SOLAS) treaty is applicable at all times

  rather than in emergencies. This type of testimony should be excluded because it invades the

  province of the Court and is essentially a legal interpretation or a legal conclusion couched as

  expert opinion. Federal Rule of Evidence 704(a) precludes expert testimony on conclusions of

  law. United States v. Long, 300 Fed. Appx. 804, 814-815 (11th Cir. 2008) (“An expert witness

  may not testify as to his opinion regarding ultimate legal conclusions ... courts must remain

  vigilant against the admission of legal conclusions.”); Cook v. Sheriff of Monroe County, 402

  F.3d 1092, 1112 (11th Cir. 2005) (“testifying experts may not offer legal conclusions” and “an

  expert witness may not substitute for the court in charging the jury regarding the applicable

  law”). This issue has been briefed in Defendant’s Motion in Limine to Strike and Preclude the

  Testimony of Plaintiff’s Expert Frank Fore, P.E. and Carnival incorporates by reference all

  arguments stated therein. See DE 64, VIII.

         The remainder of the expert testimony Plaintiff wants to utilize in her case-in-chief would

  cause juror confusion and “explosive” unfair prejudice to Carnival. The case law cited by

  Plaintiff in her Motion is inapposite and utilizing the Eleventh Circuit’s discretionary or




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  balancing standard, Plaintiff’s should be precluded from adopting Carnival’s expert as her own.

  See Peterson v. Willie, 81 F.3d 1033 (11th Cir. 1996).

          Plaintiff cites to House v. Combined Ins. Co. of Am., 168 F.R.D. 236, 237 (N.D. Iowa

  1996) for the proposition that she may adopt portions of Emond’s deposition transcript for use in

  her case-in-chief. House addressed a different issue though: deposing a non-testifying medical

  expert to use in the opposing parties’ case-in-chief.                        Accordingly, many courts have

  distinguished House on its facts, viewing House as only applying to Rule 35 experts. See R.C.

  Olmstead, Inc. v. CU Interface, LLC, 657 F. Supp. 2d 899 (N.D. Ohio 2009); Green v. Nygaard,

  213 Ariz. 460, 143 P.3d 393, 397 n.4 (Ariz. App. Div. 2006) (citing cases and noting

  distinctions). Indeed, no court appears to have adopted the House standard in a non-Rule 35

  context which Emond’s testimony is. Id. Nevertheless, the House court concluded, “the proper

  standard in these circumstances is a ‘discretionary’ standard, where the trial court’s discretion is

  guided by a balancing of probative value against prejudice under Fed. R. Evid. 403” as

  articulated in Peterson v. Willie, 81 F.3d 1033 (11th Cir. 1996). Id. Plaintiff’s reliance on House

  and Crowe v. Nivison, 145 F.R.D. 657 (D. Md. 1993) is misplaced as both of those cases

  involved Rule 35 experts who had been designated by the defendant and later withdrawn from

  defendant’s trial list. Here, Emond is still retained and hired as Carnival’s expert. Carnival

  intends on calling Mr. Emond to testify at trial. Carnival has not withdrawn or otherwise

  removed Mr. Emond from its trial list. Defendant cannot find, and Plaintiff does not cite, any

  authority which allows her to amend her expert witness disclosure and use the opposing party’s




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    Plaintiff’s expert Frank Fore is subject to a Daubert challenge [D.E. 64] and Carnival expressly
  states that it is not waiving any of its arguments therein by arguing that Plaintiff has retained her
  own expert.
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  retained trial witness in her case-in-chief when the opposing party has not withdrawn or removed

  the expert from its trial list.

          Furthermore, Plaintiff’s position in her motion to amend her expert disclosures is wholly

  inconsistent with arguments in her Motion in Limine to Exclude or Limit the Testimony of

  Defendant’s Expert Bryan Emond (“Motion in Limine”). [D.E. 73]. For example, in her Motion

  in Limine Plaintiff argues that Emond “possesses neither the expertise nor methodology” to

  render opinions about the subject handrail and that “[h]is bottom-line conclusion, that a

  graspable handrail would have made no difference, is thus classic ipse dixit, that should be

  precluded.” See D.E. 73, pg. 7.2. However, in her motion to amend her expert disclosures

  Plaintiff states that Emond gives “outright endorsements of several of plaintiff’s premises,” and

  “wishes to be able to offer testimony by Mr. EMOND in her case-in-chief which should

  otherwise be allowable.” D.E. 78, pg. 2.4. Plaintiff cannot have it both ways. Pinder v. John

  Marshall Law Sch., LLC, 11 F. Supp. 3d 1208 (N.D. Ga. 2014)(reasoning that the defendant

  cannot have it both ways, arguing that the plaintiffs were not entitled to any appeals allowed for

  those faculty members terminated “for cause,” but then argue that other provisions of the

  Handbook apply to those faculty members terminated “for cause” in a discrimination suit against

  an employer.).

          The danger of unfair prejudice flowing to Carnival is significant. First, as stated in

  Peterson, “[j]urors unfamiliar with the role of counsel in adversary proceedings might well

  assume that plaintiff’s counsel had suppressed evidence which he had an obligation to offer.

  Such a reaction could destroy counsel’s credibility in the eyes of the jury.” Id. (quoting Granger

  v. Wisner, 134 Ariz. 377, 656 P.2d 1238, 1242 (1982)). The reverse rationale applies here. If

  Plaintiff is permitted to call Defendant’s expert in her case-in-chief, Plaintiff will gain the benefit

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  of juror confusion regarding which expert is testifying for which party. Peterson referred to this

  potential prejudice as cited in other authorities as “explosive” when the jury learns that the expert

  called by one party had originally been hired by an opposing party. Id. (citing 8 Charles A.

  Wright, Arthur R. Miller, and Richard L. Marcus, Federal Practice and Procedure: Civil § 2032,

  at 447 (1994)).

         Here, Emond is still retained and hired as Carnival’s expert. It logically follows that the

  likelihood of unfair prejudice is greater when the expert is still retained and will be offered by

  the opposing party. Instead of permitting Plaintiff to use Carnival’s expert in her case-in-chief,

  which carries the inherent risk of tainting the expert’s testimony and confusing the jury thereby

  prejudicing Carnival, this Court should direct the Plaintiff to obtain the desired testimony on

  cross-examination. See Ferguson v. Michael Foods, Inc., 189 F.R.D. 408, 410 (D. Minn.

  1999)(“the court shares the concern articulated by several courts that have addressed the present

  issue, namely, the ‘explosive’ unfair prejudice that would likely result if the jury were to

  discover that the expert called by one party had originally been hired by the other.”); Zvolensky

  v. Ametek, Inc., 142 F.3d 438, 1998 U.S. App. LEXIS 5074 (6th Cir. 1998)(the Sixth Circuit

  does not allow a party to call another party's expert as a witness).

         Moreover, the unfair prejudice flowing to Carnival is magnified given the fact that

  Plaintiff has her own liability expert – Frank Fore. Surely, this Court cannot permit Plaintiff to

  present expert evidence on liability through two experts in the same field: such a practice is

  prohibited and excludable as cumulative under Fed. R. Evid. 403. Plaintiff’s Motion insinuates

  that she is attempting to obtain liability expert opinions should this Court grant Carnival’s

  Daubert Motion [D.E. 64] seeking to exclude Plaintiff’s liability expert Frank Fore from

  testifying at trial. If Plaintiff is withdrawing her expert and attempting to use Carnival’s, her

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  motion should be denied on grounds of unfair prejudice. If Plaintiff is relying on her expert, she

  cannot have two liability experts in the same field and her motion must be denied as use of

  Emond’s testimony in addition to Fore’s would be cumulative.

         This Court should follow the rationale employed in Emhart Indus. v. Home Ins. Co., 515

  F. Supp. 2d 228 (D.R.I. 2007). There, the plaintiff argued a new trial was warranted because it

  was precluded from calling the defendant’s expert physician at trial. Id. at 266. The Court held

  that because the defendant identified the expert in voir dire as a witness that it would call at trial

  -- a fact the jury was likely to remember - if plaintiff had called and questioned the expert

  instead, the jury might have inferred that defendant was trying to silence his opinion by not

  seeking it. The court deduced that as a consequence of the inference, the jury might have

  afforded unique and undue weight to the expert’s opinion simply because he was called by

  defendant’s adversary. Id, citing 8 Federal Practice and Procedure § 2032 at 447.

         WHEREFORE Defendant Carnival Corporation respectfully requests that this Honorable

  Court enter an Order denying Plaintiff’s Motion to Deem her Expert Disclosure Amended to

  Include Defendant’s Liability Expert in her case-in-cheif, and for all other relief deemed just and

  proper under the circumstances.




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         Dated: December 29, 2014.
                Miami, Florida

                                                                  Respectfully submitted,

                                                                  FOREMAN FRIEDMAN, PA

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                                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 29, 2014, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached

  Service List in the manner specified, either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are

  not authorized to electronically receive Notices of Electronic Filing.



                                                                  BY: /s/ Andrew D. Craven_____
                                                                         Andrew D. Craven, Esq.

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